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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                               )
SUSAN WALCH, on behalf of herself              )
and all others similarly situated,             )
                                               )        Civil Action No.
       Plaintiff,                              )
                                               )
       vs.                                     )
                                               )        Jury Trial Demanded
RATCHFORD LAW GROUP, PC                        )
    Defendant.

                                   NATURE OF ACTION

       1.        Plaintiff Susan Walch (“Plaintiff”) brings this putative class action against

Defendant Ratchford Law Group, PC (“Defendant”) pursuant to the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., individually and on behalf of all

others similarly situated.

                      JURISDICTION, VENUE, AND STANDING

       2.        This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

       3.        Plaintiff has Article III standing to bring this action, as it seeks to redress

conduct by Defendant that caused Plaintiff to suffer intangible harms, which Congress

has made legally cognizable in passing the FDCPA. See Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1549, 194 L. Ed. 2d 635 (2016), as revised (May 24, 2016) (Congress is “well

positioned to identify intangible harms that meet minimum Article III requirements,” and

thus “may ‘elevat[e] to the status of legally cognizable injuries concrete, de facto injuries

that were previously inadequate in law.’” (quoting Lujan v. Defs of Wildlife, 504 U.S.

555, 578 (1992)); Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 WL

3671467, at *3 (N.D. Ill. July 11, 2016) (“Without the protections of the FDCPA,

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Congress determined, the ‘[e]xisting laws and procedures for redressing these injuries are

inadequate to protect consumers.’” (quoting 15 U.S.C. § 1692(b)).

       4.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where

the acts and transactions giving rise to Plaintiff’s action occurred in this district, where

Plaintiff resides in this district, and where Defendant transacts business in this district.

                 THE FAIR DEBT COLLECTION PRACTICES ACT

       5.      Congress enacted the FDCPA to “eliminate abusive debt collection

practices, to ensure that debt collectors who abstain from such practices are not

competitively disadvantaged, and to promote consistent state action to protect

consumers.” Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573,

577 (2010) (citing 15 U.S.C. § 1692(e)); see also Chiang v. Verizon New England Inc.,

595 F.3d 26, 41 (1st Cir. 2010) (“The FDCPA was enacted to protect debtors from

abusive debt collection practices.”).

       6.      In order to best protect consumers, courts have stated that the FDCPA “is

to be construed liberally so as to effectuate its remedial purpose.” Lanna v. Levy &

White, No. 14-cv-13866-IT, 2016 WL 2937455, at *8 (D. Mass. May 11, 2016) (quoting

Pettway v. Harmon Law Offices, P.C., No. 03-cv-10932-RGS, 2005 WL 2365331, at *3

(D. Mass. Sept. 27, 2005)).

       7.      The FDCPA is a strict liability lawsuit and debt collectors are liable

regardless of fault. See Harrington v. CACV of Colorado, LLC, 508 F. Supp. 2d 128, 132

(D. Mass. 2007) (“The FDCPA imposes strict liability on debt collectors for their

violations.”); Shapiro v. Haenn, 222 F. Supp. 2d 29, 43 n.8 (D. Me. 2002) (“Because the

FDCPA is a strict liability statute, however, debt collectors are liable if they perform any



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intentional act that results in a violation, regardless of fault.” (internal citation omitted));

Fiorezano v. LVNV Funding LLC, C.A. No. 11-178M, 2012 WL 2562415, at *2 n.1

(D.R.I. Jun. 29, 2012) (“[Plaintiff] only has to prove one violation in order to trigger

liability under the FDCPA, because it is a strict liability statute.”).

         8.     The FDCPA creates a broad, flexible prohibition against the use of

misleading, deceptive, or false representations in the collection of debts. See 15 U.S.C. §

1692e.

         9.     “[F]or FDCPA purposes, a collection letter is to be viewed from the

perspective of the hypothetical unsophisticated consumer.” Pollard v. Law Office of

Mandy L. Spaulding, 766 F.3d 98, 103 (1st Cir. 2014).

         10.    “The standard protects ‘all consumers, including the inexperienced, the

untrained and the credulous.’ Even so, the standard remains an objective one, which

preserves an element of reasonableness.” Id. at 103-4 (internal citation omitted). Forcier

v. Creditors Specialty Service, Inc., No. 13-CV-444-LM, 2014 WL 6473043, at *5

(D.N.H. Nov. 17, 2014) (“This standard is similar to the ‘least sophisticated consumer’

standard employed by the majority of circuits.”).

                                          PARTIES

         11.    Plaintiff is a natural person who at all relevant times resided in the State of

Massachusetts, County of Hampden, and City of Wales.

         12.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

         13.    Defendant is an entity who at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from Plaintiff, as

defined by 15 U.S.C. § 1692a(5).



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        14.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                              FACTUAL ALLEGATIONS

        15.    Plaintiff is a natural person allegedly obligated to pay a debt asserted to be

owed or due a creditor other than Defendant.

        16.    Plaintiff’s alleged obligation arises from a transaction in which the money,

property, insurance, or services that are the subject of the transaction were incurred

primarily for personal, family, or household purposes—namely, a personal Capital One

Bank (USA), N.A. account (the “Debt”).

        17.    Defendant uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts.

        18.    Defendant regularly collects or attempts to collect, directly or indirectly,

debts owed or due, or asserted to be owed or due, another.

        19.    In connection with the collection of the Debt, Defendant sent Plaintiff

written correspondence dated June 22, 2018.

        20.    A true and correct copy of the June 22, 2018 letter is attached as Exhibit

A.

        21.    The June 22, 2018 letter was Defendant’s initial communication with

Plaintiff.

        22.    The June 22, 2018 letter purported to contain the notices required by 15

U.S.C. § 1692g(a).

        23.    The June 22, 2018 letter stated, in relevant part: “Unless you notify this

office in writing within 30 days after receiving this notice that you dispute the validity of

this debt or any portion thereof, this office will assume this debt is valid.” Exhibit A.



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                                  CLASS ALLEGATIONS

       24.       Plaintiff repeats and re-alleges all factual allegations above.

       25.       Defendant’s June 22, 2018 letter is based on a form or template used to

send collection letters (the “Template”) where the letter states: “Unless you notify this

office in writing within 30 days after receiving this notice that you dispute the validity of

this debt or any portion thereof, this office will assume this debt is valid.”

       26.       Defendant has used the Template to send collection letters to over 40

individuals in the State of Massachusetts within the year prior to the filing of the original

complaint in this matter.

       27.       Plaintiff brings this action on behalf of herself and all others similarly

situated. Specifically, Plaintiff seeks to represent the following class of individuals:

       All persons with a Massachusetts address, to whom Defendant mailed a
       letter based on the Template within one year before the date of this
       complaint.

       28.       The proposed class specifically excluded the United States of America, the

State of Massachusetts, counsel for the parties, the presiding United States District Court

Judge, the Judges of the United States Court of Appeals for the First Circuit, the Justices

of the United States Supreme Court, all officers and agents of Defendant, and all persons

related to within the third degree of consanguinity or affection to any of the foregoing

persons.

       29.       The class is averred to be so numerous that joinder of members is

impracticable.

       30.       The exact number of class members is unknown to Plaintiff at this time

and can be ascertained only through appropriate discovery.



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       31.     The class is ascertainable in that the names and addresses of all class

members can be identified in business records maintained by Defendant.

       32.     There exists a well-defined community of interest in the questions of law

and fact involved that affect the parties to be represented. These common questions of

law and fact predominate over questions that may affect individual class members. Such

issues include, but are not limited to: (a) the existence of Defendant’s identical conduct

particular to the matters at issue; (b) Defendant’s violations of the FDCPA; (c) the

availability of statutory penalties; and (d) attorneys’ fees and costs.

       33.     Plaintiff’s claims are typical of those of the class she seeks to represent.

       34.     The claims of Plaintiff and of the class originate from the same conduct,

practice, and procedure on the part of Defendant. Thus, if brought and prosecuted

individually, the claims of the members of the class would require proof of the same

material and substantive facts.

       35.     Plaintiff possesses the same interests and has suffered the same injuries as

each class member. Plaintiff asserts identical claims and seeks identical relief on behalf

of the unnamed class members.

       36.     Plaintiff will fairly and adequately protect the interests of the class and has

no interests adverse to or which directly and irrevocably conflict with the interests of

other members of the class.

       37.     Plaintiff is willing and prepared to serve this Court and the proposed class.

       38.     The interests of Plaintiff are co-extensive with and not antagonistic to

those of the absent class members.




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        39.     Plaintiff has retained the services of counsel who are experienced in

consumer protection claims, as well as complex class action litigation, will adequately

prosecute this action, and will assert, protect and otherwise represent Plaintiff and all

absent class members.

        40.     Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) and

23(b)(1)(B). The prosecution of separate actions by individual members of the class

would, as a practical matter, be dispositive of the interests of other members of the class

who are not parties to the action or could substantially impair or impede their ability to

protect their interests.

        41.     The prosecution of separate actions by individual members of the class

would create a risk of inconsistent or varying adjudications with respect to individual

members of the class, which would establish incompatible standards of conduct for the

parties opposing the class. Such incompatible standards of conduct and varying

adjudications, on what would necessarily be the same essential facts, proof and legal

theories, would also create and allow the existence of inconsistent and incompatible

rights within the class.

        42.     Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) in that

Defendant acted or refused to act on grounds generally applicable to the class, making

final declaratory or injunctive relief appropriate.

        43.     Class certification is appropriate under Fed. R. Civ. P. 23(b)(3) in that the

questions of law and fact that are common to members of the class predominate over any

questions affecting only individual members.




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       44.     Moreover, a class action is superior to other methods for the fair and

efficient adjudication of the controversies raised in this Complaint in that: (a) individual

claims by the class members will be impracticable as the costs of pursuit would far

exceed what any one plaintiff or class member has at stake; (b) as a result, very little

litigation has commenced over the controversies alleged in this Complaint and individual

members are unlikely to have an interest in prosecuting and controlling separate

individual actions; and (c) the concentration of litigation of these claims in one forum

will achieve efficiency and promote judicial economy.

                                  COUNT I
                       VIOLATION OF 15 U.S.C. § 1692g(a)(3)

       45.     Plaintiff repeats and re-alleges each factual allegation contained above.

       46.     A key provision of the FDCPA is § 1692g, which requires a debt collector

to send, within five days of its initial communication with a consumer, a written notice

which provides information regarding the debt and informs the consumer of his or her

right to dispute the validity of the debt, and/or request the name and address of the

original creditor, within 30 days of receipt of the notice. See 15 U.S.C. § 1692g(a).

       47.     Congress adopted “the debt validation provisions of section 1692g” to

guarantee that consumers would receive “adequate notice” of their rights under the

FDCPA. Wilson v. Quadramed Corp., 225 F.3d 350, 354 (3d Cir. 2000) (citing Miller v.

Payco–General Am. Credits, Inc., 943 F.2d 482, 484 (4th Cir. 1991)).

       48.     This validation requirement is a “significant feature” of the law that aimed

to “eliminate the recurring problem of debt collectors dunning the wrong person or

attempting to collect debts which the consumer has already paid.” See Hernandez v.




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Williams, Zinman & Parham PC, 829 F.3d 1068, 1070 (9th Cir. 2016) (citing S. Rep. No.

95-382, at 4 (1977)).

         49.      “Sections 1692g(a)(4), 1692g(a)(5), and 1692g(b) explicitly require

written communication, whereas section 1692g(a)(3) plainly does not.” Clark v. Absolute

Collection Service, Inc., 741 F.3d 487, 490 (4th Cir. 2014).

         50.      “The plain language of subsection (a)(3) indicates that disputes need not

be made in writing . . . .” Camacho v. Bridgeport Fin. Inc., 430 F.3d 1078, 1082 (9th Cir.

2005).

         51.      Defendant violated 15 U.S.C. § 1692g(a)(3) by failing to meaningfully

convey to Plaintiff that unless Plaintiff disputes the validity of the alleged debt, or any

portion thereof, within thirty days after receipt of the initial communication, the debt will

be assumed valid by Defendant.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Determining that this action is a proper class action, certifying Plaintiff as

                  a class representative under Rule 23 of the Federal Rules of Civil

                  Procedure, and designating this Complaint the operable complaint for

                  class purposes;

               b) Adjudging that Defendant violated 15 U.S.C. § 1692g(a)(3) with respect

                  to Plaintiff and the class she seeks to represent;

               c) Awarding Plaintiff, and the class she seeks to represent, actual damages,

                  pursuant to 15 U.S.C. § 1692k(a)(1);

               d) Awarding Plaintiff such additional damages as the Court may allow in the

                  amount of $1,000, pursuant to 15 U.S.C. § 1692k(a)(2)(B)(i);



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             e) Awarding such amount as the Court may allow for all other class

                members, without regard to a minimum individual recovery, in the amount

                of $500,000 or one percent of the net worth of Defendant, pursuant to 15

                U.S.C. § 1692k(a)(2)(B)(ii);

             f) Awarding Plaintiff, and the class she seeks to represent, reasonable

                attorneys’ fees and costs incurred in this action pursuant to 15 U.S.C. §

                1692k(a)(3);

             g) Awarding Plaintiff, and the class she seeks to represent pre-judgment and

                post-judgment interest as permissible by law; and

             h) Awarding such other and further relief as the Court may deem proper.

                                     TRIAL BY JURY

       52.      Plaintiff is entitled to and hereby demands a trial by jury.

Dated: July 31, 2018
                                               Respectfully submitted,

                                               SUSAN WALCH

                                               By her attorneys,

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